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Lennox Hinds, Esq.
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Suite 222
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United States District Court
Southern District of New York

___________________________________________________

TERRELL JAMES

       Plaintiff
                                                                      Dkt. No.
       v.

CUNY-JOHN JAY COLLEGE, DONALD V. GRAY,
Director, Office of Legal Counsel, John Jay College,
NEIL STEWART, ANTHONY BRACCO, Director of                             COMPLAINT
Facilities at John Jay College, JOHN JAY COLLEGE,
ANNE GOON, Administrative Superintendent

     Defendants
____________________________________________________

Plaintiff, by his attorney, Lennox S. Hinds, Esq., complaining of the acts of Defendants,

states as follows:

                              PRELIMINARY STATEMENT

1.     This is an action brought for discrimination in employment. Plaintiff has been

       subject to harassment and disparate treatment on the basis of his race, national

       origin, hostile work environment, and retaliation, in that a West Indian supervisor

       has been allowed to discriminate against him, without correction by his employer,

       Cuny-John Jay College. Plaintiff was also retaliated against for his protected

       activity of whistleblowing after he informed the college’s safety officer that he was

       being required to do work that violated OSHA.
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                                     JURISDICTION

2.   This Court has jurisdiction pursuant to 28 U.S.C. § 1343 to redress violation of

     Plaintiff’s civil rights.

3.   This Court has pendent jurisdiction pursuant to 28 U.S.C. § 1367 over Plaintiff’s

     claims based on local law.

                                        PARTIES

4.   Plaintiff is an African-American citizen of the United States and resident of

     New York.

5.   CUNY JOHN JAY COLLEGE is an employer within the meaning of New York

     State Labor Law § 240.

6.   At all times mentioned herein, Defendant DONALD GRAY has been the Director

     of

     the Office of Legal Counsel of John Jay College. DONALD GRAY was aware of

     Plaintiff’s mistreatment from the grievances that Plaintiff filed, and did nothing to

     prohibit the Defendants from continuing this mistreatment.

7.   At all times mentioned herein, Defendant NEIL STEWART has been Plaintiff’s

     immediate supervisor at John Jay College. Defendant NEIL STEWART is of

     West Indian national origin.

8.   At all times mentioned herein after his employment by Defendant John Jay

     College began in 2016, ANTHONY BRACCO has been the Director of

     Facilities at John Jay College.

9.   At all times mentioned herein, ANNE GOON has been an administrative

     superintendent at JOHN JAY COLLEGE.



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                            AS A FIRST CAUSE OF ACTION

                                           FACTS

10.   At all times mentioned herein, commencing on February 27, 2013, Plaintiff has

      been

      an employee of Defendant John Jay College.

11.   Plaintiff’s supervisor, a West Indian male, Defendant NEIL STEWART, who is and

      has been Plaintiff’s Administrative Superintendent, has micromanaged Plaintiff

      and subjected him to excessive scrutiny, required him to do out-of-title work and

      harassed him and disciplined him, and has subjected Plaintiff to a hostile work

      environment based on his race and national origin, and in retaliation for his

      opposition to discrimination, as described below.    STEWART has also given

      Plaintiff work assignments which required Plaintiff to work alone on a ladder ten

      feet off the ground, in violation of the Occupational Safety and Health Act and

      regulations thereunder.

12.   As described below, Defendant STEWART has subjected Plaintiff to disparate

      terms and conditions of employment based on his race and national origin, and in

      retaliation for his opposition to discrimination..

13.   Plaintiff was kept in a probationary status, which should have ended after three

      months, for almost two years, due to STEWART’s intermeddling.

14.   Plaintiff has received uniformly positive written comments from other departments

      on his courtesy, professionalism, and diligence.

15.   Plaintiff was given a work order to replace batteries, that required him to work
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      alone on Saturdays, using a thirteen foot ladder, without assistance, in violation of

      OSHA rules.

16.   On February 25, 2016, Defendant NEIL STEWART falsely accused Plaintiff of

      sleeping at morning meetings where assignments were handed out.

17.   No white worker supervised by Defendant NEIL STEWART has been accused

      falsely of any infraction.

18.   On March 18, 2016, Maintenance department staff were shown a video on

      checking

      fire extinguishers. Because the other worker who worked on the weekend was

      off on Fridays and didn’t see the video, Plaintiff was required to check all the fire

      extinguishers on Saturday.

19.   Defendant NEIL STEWART announced at the meeting that he wanted all the fire

      extinguisher inspection to be completed that weekend.

20.   Because Plaintiff was the only employee who both attended the meeting and was

      working over the weekend, only Plaintiff could be working over the weekend the

      entire task of inspecting fire extinguishers fell to Plaintiff. Plaintiff also was

      required to single-handedly inspect the over fifty fire extinguishers in the Haaren

      Hall Gerald Lynch Theatre.

21.   Plaintiff alone was given the assignment to check fire extinguishers throughout

      John Jay College, Plaintiff was alone given the assignment to check fire

      extinguishers throughout the John Jay campus alone on Saturday, with the work

      order requiring him to complete fire extinguisher inspection in Gerald Lynch
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      auditorium without assistance from anyone, although this work required working in

      rafters where there were many trip hazards.

22.   No white worker supervised by NEIL STEWART has been given onerous

      assignments of a large quantity of work to be performed on a single day.

23.   In or about March, 2016, Plaintiff was given a work order by NEIL STEWART

      which required him, without assistance, to climb a ladder and reset time on clocks

      throughout the John Jay College campus, a violation of OSHA safety standards.

24.   No white worker supervised by NEIL STEWART was given a similarly hazardous

      and onerous work assignment.

25.   On March 22, 2016, Plaintiff filed a grievance against Defendant NEIL STEWART,

      for out of title work, harassment, and discrimination.

26.   On March 23, 2016, Defendant NEIL STEWART, who usually places work orders

      on the table in front of workers, attempted to place work orders directly in

      Plaintiff’s hands.

27.   Later in the day, Plaintiff was called into a meeting with Defendants NEIL

      STEWART and ANNE GOON, and told he would no longer be allowed to wear a

      hooded sweatshirt, and if he did, further action would be taken. When Plaintiff’s

      Hispanic co-worker, whom Plaintiff had brought to the meeting, said that he, too,

      wore a hooded sweatshirt because the campus was cold, NEIL STEWART said

      “this is not about you.” This addition of a dress code was in retaliation for Plaintiff

      refusing to accept work orders in his hand that morning.

28.   On April 26, 2016, the timekeeper was asked by NEIL STEWART if Plaintiff had
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      brought in a doctor’s note for three days’ absence due to an on-the-job injury,

      although the maintenance workers’ manual states that a doctor’s note can be

      waived for up to and including three days’ absence.

29.   On April 27, 2016, Plaintiff was given a Letter of Guidance which falsely accused

      him of sleeping in the morning meeting, and of showing a disrespectful attitude

      toward supervisors.      This Letter was in retaliation for Plaintiff’s opposition to

      discrimination.

30.   At the meeting to discuss this Letter of Guidance, Plaintiff asked to have his union

      representative present. NEIL STEWART said it would not be necessary, but was

      overruled by another manager.

31.   When Plaintiff’s union representative arrived, NEIL STEWART told him he was

      only there to observe.

32.   During the two months prior to this Letter of Guidance, Plaintiff had completed

      between fifty and sixty work orders, more than any other maintenance employee,

      not including oral assignments and volunteer work assisting other tradesmen.

33.   On April 28, 2016, Plaintiff spoke with Lorraine Belasco, the Human Resources

      training specialist who was investigating Plaintiff’s claim against John Jay’s Public

      Safety Department, about when she was going to start the investigation. She

      stated that Elmer Phelon, the Director of Facilities Management, had her working

      on a special project.

34.   NEIL STEWART conducted Plaintiff’s annual evaluation, in which he stated his

      personal feelings toward Plaintiff, without taking into account the views of any
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      other staff, managers, or administrative superintendents whom Plaintiff had

      worked for throughout the college.

35.   After the April 28, 2015 evaluation, NEIL STEWART refused to conduct Plaintiff’s

      evaluations.

36.   On May 5, 2016, Mrs. Belasco confirmed that the investigation had not

      progressed as she would have liked but promised Plaintiff to get back to him in

      two weeks.

37.   On May 9, 2016, Plaintiff filed an EEOC harassment claim against NEIL

      STEWART..

38.   On May 2, 2016, Plaintiff was mailed a certified copy of the same Letter of

      Guidance.

39.   On May 3, 2016, NEIL STEWART called Plaintiff over the public radio to

      STEWART’S office to bring in his weekend work orders. No one is ever called

      over the radio to bring in his work orders.

40.   On June 2, 2016, the Step One hearing took place at John Jay College, with

      DONALD GRAY, Rajendra Singh, NEIL STEWART, ANNE GOON, Randy Klein,

      Bernard Cenacs and Plaintiff in attendance.

41.   On August 3, 2016, Mrs. Belasco informed Plaintiff that the investigations were

      over and that her findings were sent to DONALD GRAY and Local 237, which

      would have to handle the rest of the investigation.

42.   Plaintiff later learned that Mrs. Belasco had been terminated.

43.   On June 28, 2016. Plaintiff was given a work order to perform with three other
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      workers, even though it was his day off.

44.   Plaintiff was issued a preventive work order to clean a street vault/pit, which was

      not in his job description, and without a work order to clean this infested area

      consisting of syringes, needles, urine, feces, and other garbage.

45.   On October 17, 2016, Union Local 237 informed Plaintiff that the Step 2 hearing

      was going to be held at CUNY Central Office on October 31, 2016.                 NEIL

      STEWART submitted claims to that hearing which were false, including that

      Plaintiff had not turned in work orders.

46.   On or about January 5, 2017, Defendant STEWART gave Plaintiff a “Preventative

      Maintenance Work Request” work order to check and clean three North Hall street

      vaults even though cleaning is not in Plaintiff’s job description.

47.   On January 30, 2017, Plaintiff enrolled in and started classes at New York City

      College of Technology, a benefit provided for employees of CUNY.

48.   On May 17, 2017, Plaintiff was given a weekend work order and another work

      order by NEIL STEWART to change light bulbs in a building to which he is not

      ordinarily assigned.

49.   NEIL STEWART continued to issue work orders for Plaintiff on Plaintiff’s days off.

50.   NEIL STEWART continued to issue work orders for Plaintiff to work alone on

      ladders at dangerous heights.

51.   NEIL STEWART continued to issue Out of Title preventative work orders to

      Plaintiff to do vehicle maintenance, elevator cleaning, street vault, pit cleaning.

52.   On May 25, 2017, Plaintiff filed an on-line complaint with OSHA about working on
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      ladders alone.

53.   On June 27, 2017 Ms. Lindsay Kayman conducted training on ladder safety in

      which Plaintiff informed Ms. Kayman of the type of work orders STEWART had

      issued him over the years involving violation f ladder safety.

54.   On June 27, 2017, Ms. Kayman e-mailed Plaintiff telling him that what STEWART

      had done was wrong and that JOHN JAY COLLEGE‘s practices were illegal.

55.   In or about the first week of July, 2017, in a telephone conference with ANNE

      GOON, administrative superintendent, David Stanley, and ANTHONY BRACCO,

      Director of Facilities, Plaintiff was told he would have to work on, July 7, 2017, and

      to have July 8 off.

56.   On June 29, 2017, Plaintiff was given a work order to perform work on July 3,

      2017, his day off.

57.   On Friday, July 7, 2017, Plaintiff received a call from ANTHONY BRACCO not to

      come in on July 8, and that if he came in, he would be removed and subject to

      disciplinary action. .

58.   Plaintiff came in on July 8, to avoid losing a day’s pay , and after an hour, a Public

      Safety department member came and ushered Plaintiff off the premises.

59.   Plaintiff was never subjected to disciplinary action, but two weeks later, his

      schedule was changed from 7 a.m. Tuesdays through Saturdays to new hours,

      8:00 a.m .through 4:30 p.m. Monday through Friday.

60.   The schedule change was made knowing that it would interfere with Plaintiff

      taking classes at CUNY, which was one of the prerogatives of working for CUNY.
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      and deprive him of the weekend overtime rate of pay.

61.   While plaintiff had his schedule changed so that he no longer worked on a

      weekend day, a white worker who also was under the supervision of NEIL

      STEWART did not have any change made to his schedule, which included

      Sundays.

62.   On July 12, 2017, Plaintiff was given a “preventative Maintenance work request”

      to check and clean three North Hall street vaults, even though cleaning is not in

      Plaintiff’s job description.

63.   On July 10, 2017, Plaintiff’s schedule was changed to Monday-Friday, 8:00 a.m. -

      4:30 p.m, denying Plaintiff differential pay in retaliation or his opposition to

      discrimination and subjecting him to an ongoing hostile work environment.

64.   On July 17, 2017, Plaintiff filed a grievance concerning the denial of his Saturday

      scheduled work.

65.   During the week of July 10, 2017, Plaintiff met with Toni Mason-Clark to see if the

      action taken by ANTHONY BRACCO was legal and if Plaintiffs pay was going to

      be affected.

66.   On November 7, 2018, Plaintiff met with Terencia Marrtin, an HR Coordinator and

      was able to see that his time-sheet for the two-week period from June 25, 2017

      through July 8, 2017 was altered with an x and NO Pay .

67.   Plaintiff insisted that he should be paid and his request was granted.

68.   John Farrell, a Caucasian maintenance worker did not have to immediately

      change his schedule.
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69.   Again, on December 27, 2017, Plaintiff was given a “Preventative Maintenance

      Work Order” to clean and organize another tradesman’s shop.

70.   When a white worker wrote a statement about Plaintiff being treated less

      favorably with respect to weekend work, Defendant STEWART told the worker to

      mind his own business.

71.   Defendant ANNE GOON has witnessed numerous acts of verbal harassment of

      Plaintiff by Defendant STEWART, and has taken no steps to prevent them.

72.   Defendant GOON also prevented Plaintiff from having overtime work assigned

      from the time of Plaintiff’s April, 2016 grievance forward.

73.   Plaintiff is required to call in days in advance to use vacation days. Otherwise, his

      absence is counted as a sick day.

74.   A white worker who reports to NEIL STEWART has been allowed by STEWART

      to call in on the day he is taking off, and have it counted against his vacation days.

75.   Plaintiff has been required to do out-of-title work, while white workers reporting to

      Defendant NEIL STEWART have not been assigned out-of-title work by

      STEWART..

76.   A list of work done by number of work orders received, in 2016, lists Plaintiff

      working a total of 963 orders, the highest number of any maintenance department

      employee, while the number performed during the same period by a white worker

      totaled seventy-five ,

77.   Defendant NEIL STEWART denied Plaintiff’s request for Tuesdays off. From in or

      about August, 2015, and through the present, Defendant STEWART denied
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      Plaintiff’s request for a Wednesday to Saturday schedule. Plaintiff was made to

      work Tuesday through Thursday, take Friday off, and return to work on Saturday.

78.   No white workers were subject to this type of denial of their scheduled work day

      changes, and irregular work schedules.

79.   On July 17, 2017, Plaintiff received a letter from NEIL STEWART stating that his

      schedule would officially be changed on August 14, 2017, from 7-3:30 p.m. Tues.

      to Saturday, to 8-4:30.p.m Monday-Friday, the second time Plaintiff’s schedule

      was changed in four years of employment with John Jay College.

80.   Plaintiff’s second change of schedule forced him to become a part-time student at

      New York City Technical College.

81.   On September 15, 2017, Steve Waxman, an administrative superintendent in

      facilities informed Plaintiff that he had filed a report with the public safety office of

      John Jay College because he had been disrespected by ANTHONY BRACCO

      and didn’t feel safe around him. Mr. Waxman said that a public safety officer had

      witnessed this incident and did his own report against ANTHONY BRACCO.

82.   Mr. Waxman addressed this situation with Raj Singh, who told him it would be in

      his interest not to pursue the matter.

83.   Mr. Waxman is no longer employed at John Jay College.

84.   As a result of the hostile work environment to which he has been subjected,

      Plaintiff commenced therapy sessions with a psychotherapist, Dr. Verna

      Callender.

85.   On February 1, 2018, Plaintiff was given a Preventative Maintenance Work
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      Request to clean the elevator tracks/saddle in Haaren Hall every Friday, when

      white workers were not given this assignment.

86.   In another example of Defendant STEWART’S acting with a racial animus, he

      threatened to physically fight with a Guyanese-American worker.

87.   This was reported to the Public Safety Department, but nothing was done about it,

      despite CUNY-John Jay College’s written policy to prevent workplace violence.

88.   On February 21, 2018, Patrick Young, a white electrician at John Jay College was

      able to have NEIL STEWART excuse him for two days using his annual time

      instead of sick days. Normally, a person would have to get annual days approved

      in advance before getting the days that he requested.

89.   Throughout 2018, NEIL STEWART continued to issue out of title work orders to

      Plaintiff, including work orders to have Plaintiff work alone on ladders.

90.   On October 9, 2018, NEIL STEWART received a cease and desist order from

      ANTHONY BRACCO concerning cleaning of the street vault/ pit, nearly three

      years after the original complaint.

91.   NEIL STEWART has continued to issue work orders to Plaintiff on his days off.

92.   On November 4, 2018, NEIL STEWART approved the white electricians to work

      overtime to change the clocks for daylight savings time ; the exact job which

      Plaintiff had been doing for years.

93.   On November 5, 2018, STEWART assigned four maintenance workers , not

      including Plaintiff, to do the job that the electricians were supposed to do the job

      which the electricians were supposed to do on Sunday, November 4, 2018, which
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       they got paid for.

94.    Plaintiff attempted to sign up for the task on Friday, November 2, 2018. But

       STEWART did not come to work that day, and the sign-up sheet was not posted.

95.    Plaintiff is still employed by John Jay College. The harassment has not ceased.

96.    There is an ongoing continuing violation of Plaintiff’s rights.

97.    DONALD V. GRAY was aware from Plaintiff’s grievances of the mistreatment of

       Plaintiff by Defendants, and failed to take any steps to prevent or curtail this

       mistreatment.

                             AS A SECOND CAUSE OF ACTION

98.    Plaintiff repeats as if stated here in full ¶¶ 1-65 of this Complaint.

99.    Plaintiff has been subject to a hostile work environment by Defendants and

       continues to be subjected to a hostile work environment, based upon his race,

       national origin, and in retaliation for his opposition to discrimination..

100.   Plaintiff has been subject to an environment which would cause a worker of

       ordinary firmness to be unable to perform his work with the same level of

       proficiency.

                             AS A THIRD CAUSE OF ACTION

101.   Plaintiff repeats as if stated here in full ¶¶ 1-68 of this Complaint.

102.   Defendants acting under color of law have deprived Plaintiff of his civil rights in

       violation of 42 U.S.C. § 1983.

                            AS A FOURTH CAUSE OF ACTION

103.   Plaintiff repeats as if stated here in full ¶¶ 1-70 of this Complaint.
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104.   Defendants have deprived Plaintiff of the right to contract for employment on the

       same terms as are available to whites, in violation of 42 U.S.C.§ 1981a, entitling

       Plaintiff to an additional money damages remedy for the violation of his rights.

                             AS A FIFTH CAUSE OF ACTION

105.   Plaintiff repeats as if stated here in full ¶¶ 1-72 of this Complaint

106.   Defendants’ actions have been and are in violation of the New York City Human

       Rights Code, New York City Administrative Code § 8-107 et seq, by aiding and

       abetting discrimination. .

                             AS A SIXTH CAUSE OF ACTION

107.   Plaintiff repeats as if stated here in full ¶¶ 1-74 of \this Complaint

108.   Defendants actions have been and are in violation of the New York State Civil

       Rights Law, Executive Law § 296 et seq.

                           AS A SEVENTH CAUSE OF ACTION

109. Plaintiff repeats as if pleaded here in full ¶¶ 1-76 of the Second Amended

Complaint.

110. CUNY-John Jay College is an employer within the meaning of New York State

Labor Law § 240.

111. . Plaintiff complained to the Occupational Health officer at Defendant CUNY-John

Jay College that he was being compelled to work alone on a ladder thirteen feet off the

ground.

112. Plaintiff included his being made to work under unsafe conditions in a grievance his

union filed on his behalf with Defendant CUNY-John Jay College.
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113. Defendants, in reprisal and retaliation for Plaintiff voicing his safety-related

concerns, revised his working hours so that he could no longer earn overtime pay for

weekend work.

114. Plaintiff is entitled to compensatory damages against Defendant CUNY-John Jay

College for his lost overtime pay.

                            AS AN EIGHTH CAUSE OF ACTION

115.   Plaintiff repeats as if stated here in full ¶¶ 1-80 of this Complaint

116.   Defendants’ actions constitute the intentional infliction of emotional distress, made

illegal and answerable in tort under the common law of New York.

Wherefore, Plaintiff demands an award of money damages, punitive damages against all

parties subject to punitive damages, a declaration that Defendants violated Plaintiff’s civil

rights, an injunction requiring Defendants to purge Plaintiff’s personnel record of all

disparaging statements, and to cease discrimination against Plaintiff, reasonable

attorneys’ fees and the costs of this action.

                                        JURY DEMAND

Plaintiff demands a trial by jury of all issues triable by jury.

                                                            Yours. etc.

                                                            /s/

                                                            Lennox S. Hinds
                                                            Attorney for Plaintiff




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